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                   Exhibit 7
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1                               UNITED STATES DISTRICT COURT
2                              NORTHERN DISTRICT OF CALIFORNIA
3
4          FACEBOOK, INC. AND INSTAGRAM, )
           LLC,                          )
5                                        )
                     PLAINTIFFS,         )
6                                        )                   CASE NO.
              V.                         )                   5:19-CV-07071-SVK
7                                        )
           ONLINENIC, INC.; DOMAIN ID    )
8          SHIELD SERVICES CO., LIMITED; )
           AND DOES 1-20,                )
9                                        )
                     DEFENDANTS.         )
10         ______________________________)
11
12
13
                             VIDEOTAPED DEPOSITION OF THE PERSON
14
                              MOST QUALIFIED OF ONLINENIC, INC.,
15
                                               CARRIE YU
16
17                                   TUESDAY, JULY 13, 2021
18                                    CHINA STANDARD TIME
19
20                                             VOLUME I
21
22
23
         JOB NO. CA 4690900
24       REPORTED BY MARK McCLURE, CRR
         CAL CSR 12203
25       PAGES 1 - 83

                                                                        Page 1

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1    VIDEOTAPED DEPOSITION OF CARRIE YU, PMQ, VOLUME I, TAKEN
2    AT 7:09 A.M., TUESDAY, JULY 13, 2021, CHINA STANDARD
3    TIME, VIA VERITEXT REMOTE TECHNOLOGY, BEFORE MARK
4    McCLURE, C.S.R. #12203, CERTIFIED SHORTHAND REPORTER IN
5    AND FOR THE STATE OF CALIFORNIA.
6
7    APPEARANCES OF COUNSEL:
8    FOR THE PLAINTIFFS FACEBOOK, INC. AND INSTAGRAM:
9                 (APPEARING BY VIDEOCONFERENCE)
                  TUCKER ELLIS LLP
10                BY:   HOWARD A. KROLL, ESQ.
                  515 SOUTH FLOWER STREET
11                FORTY-SECOND FLOOR
                  LOS ANGELES, CALIFORNIA 90071
12                213.430.3400
                  HOWARD.KROLL@TUCKERELLIS.COM
13
14   FOR THE DEFENDANTS ONLINENIC, INC. AND DOMAIN ID SHIELD
     SERVICES CO., LIMITED:
15
                  (APPEARING BY VIDEOCONFERENCE)
16                LEXANALYTICA, PC
                  BY:   PERRY J. NARANCIC, ESQ.
17                2225 E. BAYSHORE ROAD, SUITE 200
                  PALO ALTO, CALIFORNIA 94303
18                650.655.2800
                  PJN@LEXANALYTICA.COM
19
20   ALSO PRESENT:
21                DAVID STEELE, TUCKER ELLIS
22                HELENA GUYE, TUCKER ELLIS
23                BART KESSEL, TUCKER ELLIS
24                STACY CHEN, ATTORNEY, FACEBOOK
25                OLIVIA GONZALEZ, ATTORNEY, FACEBOOK

                                                                       Page 2

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1    ALSO PRESENT:            - CONTINUED
2                     AMANDA LIN, CHINESE INTERPRETER
3                     DREW DORSEY, VIDEOGRAPHER
4                     CRAIG JONES, VERITEXT CONCIERGE
5
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                                                                       Page 3

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1           A.     California.
2           Q.     Do you know what city he lives in?
3           A.     San Francisco, is it?
4           Q.     Did you speak to Mr. Liu in Chinese or
5    English?
6           A.     Chinese.
7           Q.     How many times did you speak with Zhipo Chen
8    in preparation for this deposition?
9           A.     Twice.
10          Q.     What did you discuss?
11          A.     One was to confirm that Rex Liu had already
12   repaid all of his loans he borrowed from OnlineNIC.
13                 The second thing was to confirm the purchase
14   of OnlineNIC at the end of 2009 by Zhipo Chen and
15   Shaohui Gong.
16          Q.     Did both Zhipo Chen and Shaohui Gong purchase
17   OnlineNIC at the end of 2009?
18          A.     I would like to confirm the question with
19   counsel again.
20                 Did you ask that Zhipo Chen and Shaohui Gong
21   together purchased OnlineNIC at the end of 2009?
22          Q.     Yes.
23          A.     No.
24          Q.     Who purchased OnlineNIC in 2009?
25          A.     In the end of 2009, Zhipo Chen purchased

                                                                     Page 29

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1    OnlineNIC from Shaohui Gong.

2           Q.    Did you discuss anything else with Mr. Chen in

3    preparation for your deposition?

4           A.    More or less.

5           Q.    What else did you discuss?

6           A.    We mainly discussed these two things.

7           Q.    I understand that you mainly discussed those

8    two things.      I'm curious as to what other items you

9    discussed.

10          A.    Other things we discussed were not related to

11   the deposition.         They were related to work.           Perhaps I

12   misunderstood the question.             I thought you were asking

13   me if that was all we discussed.

14          Q.    Please describe for me the other discussions

15   related to work that you had with Mr. Chen.

16          A.    I reported to him the situation of OnlineNIC

17   for the first half of the year.

18          Q.    What was your report?

19          A.    I reported to him the situation of OnlineNIC's

20   business for the months of January through June.                   For

21   example, report and situation of the revenue, the profit

22   and expenses.

23          Q.    Did you also discuss with him this lawsuit?

24          A.    Yes.

25          Q.    And what did you discuss?

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1           Q.    And Mr. Shaohui Gong is the individual who

2    sold OnlineNIC to Zhipo Chen in 2009, correct?

3           A.    Yes.

4           Q.    How many times did you speak with Shaohui Gong

5    in preparation for this deposition?

6           A.    One time.

7           Q.    When was that?

8           A.    I'm not sure about the exact date, but it was

9    probably during the process I was preparing for my

10   deposition.

11          Q.    How long was your conversation with

12   Mr. Shaohui Gong?

13          A.    About ten minutes.

14          Q.    What did you discuss?

15          A.    One thing was to confirm that he did sell

16   OnlineNIC in 2009.        I would like to verify that for the

17   record again.

18                The second thing was that we discussed one of

19   the deposition topics, and I think it was Topic 16.

20          Q.    And that refers to the assets of 35.CN located

21   in the United States?

22          A.    Yes.

23          Q.    What did Mr. Shaohui Gong tell you about the

24   assets of 35.CN located in the United States?

25          A.    35.CN only has RAA in the United States.

                                                                      Page 32

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1           Q.    What is the address of his office in Xiamen?

2           A.    So, it was located in the same software park

3    as we are in.

4           Q.    Who is the "we" that you are referring to?

5           A.    The office address of OnlineNIC in China.

6           Q.    And it's -- the address of OnlineNIC is in the

7    same software park as what other company?

8           A.    I'm not sure what your question is because

9    there are many companies within the software park.

10          Q.    What is the address of OnlineNIC's company in

11   China?

12          A.    No. 8, Guanri Road, Software Park Phase 2,

13   Xiamen, China.

14                INTERPRETER:      The phonetic spelling is -- of

15   the road is Guanri Road, G-u-a-n-r-i Road.

16   BY MR. KROLL:

17          Q.    Are there other companies located at 8 Guanri

18   Road, Software Park Phase 2, Xiamen, China?

19          A.    Yes.

20          Q.    Is one of those companies 35 Technology

21   Company Limited?

22          A.    Yes.

23          Q.    Are there other companies located at 8 Guanri

24   Road, Software Park Phase 2, Xiamen, China?

25          A.    Yes.

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1           Q.    Where is OnlineNIC's office located, as

2    compared to 35 Technology Company Limited?

3           A.    The location of the address of OnlineNIC is on

4    the third floor of this building, whereas 35.CN is on

5    the fourth and fifth floors.

6           Q.    How many floors does this building have?

7           A.    Five.

8           Q.    Are there any other companies located on the

9    third floor?

10          A.    Yes.

11          Q.    What are the names of the other companies on

12   the third floor?

13          A.    Right now, I do not have those names.               If you

14   want those names, I can go and have a look at them and

15   write them down and provide them to you next time.                   I do

16   not have those names right now because they are not

17   related to our company.

18          Q.    Where are you located now?

19          A.    Are you talking about where I am for this

20   deposition?

21          Q.    Yes.

22          A.    Yes.

23          Q.    I don't know if I understood your answer so

24   let me ask you again.

25                Right now, where are you located for this

                                                                      Page 51

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1                  Is that correct?

2             A.   Yes.

3             Q.   Who paid you for working as customer service

4     personnel for OnlineNIC between 2002 and 2007?

5             A.   Jing Tong Technology.

6             Q.   Who was the owner at that time of Jing Tong

7     Technology?

8             A.   Shaohui Gong.

9             Q.   What did you do as customer service personnel

10    for OnlineNIC?

11            A.   I was responsible for handling all the work

12    related to customer services, including replying to

13    emails and online inquiries.

14            Q.   Where was your office located?

15            A.   International Trade Building, at Hubin South

16    Road.

17                 INTERPRETER: H-u-b-i-n South Road.

18    BY MR. KROLL:

19            Q.   What was the next company that you worked for?

20            A.   The next one would be 35.CN.

21            Q.   What year did you start working at 35.CN?

22            A.   Since it has been a very long time, I do not

23    remember the accurate or precise time frame, but I would

24    think it was around 2008 or 2007, roughly.

25            Q.   Now, is 35.CN also known as 35 Technology

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1            A.     More or less, yes.
2            Q.     You earlier testified that you have a
3     four-year-old child.
4                   Did you take any time off from work when you
5     had your child?
6            A.     Yes.
7            Q.     Approximately what months did you take off?
8            A.     From July to December.
9            Q.     In 2017?
10           A.     Yes.
11           Q.     For how many years were you a director in
12    charge of the daily operations of OnlineNIC?
13           A.     About four years.
14           Q.     What is your current job at 35.CN?
15           A.     Director.
16           Q.     As a director for 35.CN from 2017 to present
17    day?
18           A.     For that time frame you were just asking me
19    about, I was the director of a department under 35.CN.
20           Q.     Which department is that?
21           A.     Software outsourcing center.
22           Q.     As a director of the software outsourcing
23    center, did you work on companies other than OnlineNIC?
24           A.     No.
25           Q.     When did you start acting as a director for

                                                                      Page 66

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1     the software outsourcing center of 35.CN?

2           A.     Roughly, in 2017 or 2018.

3           Q.     As the director for software outsourcing

4     center, were you involved in the daily operations of

5     OnlineNIC?

6           A.     Yes.

7           Q.     Who did you report to as a director?

8           A.     With regards to the part related to OnlineNIC,

9     I reported to the CEO of OnlineNIC.

10          Q.     Was there a part not related to OnlineNIC?

11          A.     This center was a department under 35.CN, so

12    regarding all of the work of that department, I need to

13    report to the CEO of 35.CN.

14          Q.     And who is the CEO of 35.CN?

15          A.     There have been several.

16                 Are you asking about the one right now?

17          Q.     I would like you to tell me all of the CEOs of

18    35.CN that you have reported to as a director.

19          A.     The first one was Shaohui Gong.

20                 The second one was Mr. Ding Jianshen.

21                 INTERPRETER:     D-i-n-g, family name;

22    J-i-a-n-s-h-e-n-g, first name.

23    BY MR. KROLL:

24          Q.     I'm sorry?

25                 INTERPRETER:     Counsel, I need to correct the

                                                                      Page 67

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1     reported to the deputy general manager, who was in

2     charge at 35.CN.

3           Q.     I thought you earlier testified that you

4     reported to the CEO of 35.CN?

5           A.     That was because I had some misunderstanding

6     about what you were asking me earlier.               I thought you

7     were asking me who was the CEO of 35.CN.               These are two

8     different questions.        I thought you were asking me about

9     the CEO.

10          Q.     I was asking you about the CEO because I

11    thought you said that you reported to the CEO.

12          A.     I did not need to report directly to the CEO

13    from the work process flow.

14          Q.     You may not have needed to report to the CEO,

15    but did you report to the CEO?

16          A.     Based on what I remember, I did not.

17          Q.     What about currently?

18          A.     Currently, like what I said earlier, in order

19    to confirm the deposition topics, I confirmed with

20    Shaohui Gong, and regarding the current CEO, I do not

21    need to do that because it is not related to the

22    lawsuit.

23          Q.     As a director for 35.CN in charge of the daily

24    operations of OnlineNIC, what company paid you?

25          A.     35.CN.

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1           Q.     Currently, are you a director of 35.CN in

2     charge of the daily operations of OnlineNIC?

3                  MR. NARANCIC:     Objection.            Vague as to form.

4     Vague and ambiguous.

5                  THE WITNESS:     Yes.

6     BY MR. KROLL:

7           Q.     Currently, as a director of 35.CN, you also

8     are involved in the software outsourcing center for

9     35.CN, correct?

10                 MR. NARANCIC:     Objection.            Form of question.

11    Vague and ambiguous.

12                 You may answer.

13                 THE WITNESS:     I'm not sure what counsel is

14    trying to ask exactly.

15    BY MR. KROLL:

16          Q.     It appears, by your answers, that you are

17    involved not only with the daily operations of OnlineNIC

18    but currently also in charge of the software outsourcing

19    center, is that correct?

20          A.     Yes.

21          Q.     And the software outsourcing center that

22    you're in charge of is the software outsourcing center

23    of 35.CN, correct?

24          A.     Yes.

25          Q.     Were you a director of 35.CN in 2013?

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1           A.     No.

2           Q.     Were you a director of 35.CN in 2014?

3           A.     No.

4           Q.     As a director in charge of the daily

5     operations of OnlineNIC, have you been to OnlineNIC's

6     offices in California?

7           A.     Let me try to remember.           I went there in 2019.

8     I've been there once, in 2019, and that was the first

9     time I went there.

10                 MR. KROLL:     I'd like to mark as Exhibit 6 the

11    2013 registrar accreditation agreement between 35

12    Technology Company Limited and ICANN.                That's I-C-A-N-N.

13                 (Exhibit 6 marked for identification.)

14                 THE WITNESS:     Where is that document?

15                 I don't see it.

16    BY MR. KROLL:

17          Q.     I don't know.

18                 MR. NARANCIC:     If I can interrupt for a

19    second.    It's 8:45.

20                 How long would you like to go tonight?

21                 MR. KROLL:     15 minutes or so.

22                 THE WITNESS:     It's gone beyond the time you

23    agreed to.     It will affect my next meeting.

24                 MR. NARANCIC:     It was agreed to 9:00 o'clock,

25    Carrie.    Fifteen more minutes.

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1           Q.     If you go to page 2, it actually indicates

2     that the document was agreed to on March 18, 2014.

3           A.     Yes.

4           Q.     Were you a director of 35 Technology Company

5     Limited in March of 2014?

6           A.     No.

7           Q.     Go to the last page of the agreement.

8                  Do you see that?

9           A.     Please give me a minute.

10          Q.     All right.     The Bates stamp number is

11    ICANN_FB-000117.

12          A.     I see it.

13          Q.     You signed this page on behalf of 35

14    Technology Company Limited, is that correct?

15          A.     Yes.

16          Q.     And it says that your title was a director.

17                 Do you see that?

18          A.     Let me explain what that is, why that is.

19                 At that time, I can require that the people

20    who would be able to sign an RAA would be people at the

21    levels of, for example, CEO, CFO, COO, or at the

22    relevant or equivalent levels.

23                 And, obviously, a title of a manager was not

24    to the level that would be allowed to sign an RAA, and

25    so, we needed to use the director title to sign the RAA.

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